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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA,
Vv. Crim. Action No. 19-0018 (ABJ)
ROGER J. STONE, JR., ***SEALED***
Defendant.
)
ORDER

Pending before the Court is defendant Roger J. Stone, Jr.’s Motion for a New Trial [Dkt.
# 266] (SEALED) (“Mot.”). Defendant asserts that he is entitled to a new trial pursuant to Federal
Rule of Criminal Procedure 33 because the Court denied his request to strike J uror for cause. !
Mot. at 1. The government filed a response to the motion, Gov’t Resp. to Mot. [Dkt. # 267], no
reply brief was filed, and the motion is ripe for decision. For the reasons set forth below,
defendant’s motion will be denied.

PROCEDURAL HISTORY

Given the amount of public attention this case had received, and the possibility that many

members of the venire might have already received information or formed opinions about the

proceedings before the U.S. House of Representatives Permanent Select Committee on

 

1 Defendant also argues that he is entitled to a new trial because he was “compelled” to use
four of his ten peremptory strikes to remove four individuals for whom motions to strike were
denied. Mot. at 5-8. However, he acknowledges that this argument is foreclosed by binding legal
precedent. Mot. at 5-6 (“Mr. Stone recognizes that the Supreme Court held a defendant’s
constitutional right to an impartial jury, ‘pursuant to Rule 24(b) is not denied or impaired when
the defendant chooses to use a peremptory challenge to remove a juror who should have been
excused for cause.’”), quoting United States v. Martinez-Salazar, 528 U.S. 304, 317 (2000).

Because there is no legal authority to grant defendant’s motion on this basis, the Court need not
address this issue further.
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Intelligence, the Office of Special Counsel, the defendant, or the charges in this case, the Court
decided, with the concurrence of the parties, to utilize a written jury questionnaire to facilitate the
jury selection process. See Scheduling Order [Dkt. # 65] at 1-2. Counsel for both sides worked
together to submit a joint proposal, see Notice of Filing of Proposed Written Jury Questionnaire
[Dkt. # 184] (advising that there was only one question about which the parties disagreed), and the
Court based the final questionnaire on the parties’ submission. See Juror Questionnaire [Dkt.
# 247].

On September 12, 2019, 120 potential jurors, including Juror, were summoned to the
courthouse to complete the questionnaire. See Draft Tr. of Proceedings, Sept. 12, 2019 (“Sept. 12
Tr.”) at 7-8; Min. Entry for Proceedings, Sept. 12, 2019. They were told that the questionnaire
would aid in selecting a jury for Mr. Stone’s trial, which was set for November, and they were
asked to stand, raise their right hands, and swear or affirm that the answers they were about to give
would be true and accurate to the best of their knowledge. Sept. 12 Tr. at 5—6, 11.

The written instructions appended to the questionnaire included the following admonition:

From this day forward, until you have been formally excused from service,
you are instructed not to communicate in person, in writing, or
electronically about this case or the questionnaire with anyone, including
your family and fellow jurors. Also, you should not go online or look at

any source to learn more about the charges, the defendant, or any participant
in the case.
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Juror Questionnaire at 1; see also Sept. 12 Tr. at 9.2 The potential jurors completed the
questionnaires in the courtroom.

The questionnaire covered the jurors’ personal background, experience with the law and
with law enforcement, and availability for the upcoming trial. See Juror Questionnaire. More
important, it contained a number of questions specifically designed to probe potential bias. See id.
After the proceedings on September 12, the parties and the Court were provided with copies of the
completed questionnaires, and the parties were given the opportunity to file a motion to strike any
of the potential jurors for cause based upon their written answers.

In PR cvestionnaire, Juror ma revealed that both [| and jl spouse had law degrees,

and fj noted that fill] had been employed for S| years” as attorney {i in the
Sn Office of the Internal Revenue Service. Juror | Questionnaire (“JQ”)

(Attachment A) 4—6, 13-14.? Neither the juror nor fj spouse had any training or employment in
security/intelligence, international relations, or journalism/media communications. JQ 7

had not served on a grand jury or on a jury in a trial within the past ten years. JQ 19.

 

2 The Court further instructed the potential jurors: “During the trial, your contact with other
people will not be restricted, but beginning now and continuing until you have been excused from
further service by the Court, you will not be permitted to talk about the case with anyone, or to
read, watch, or listen to any press coverage the case might receive .... [F]rom this day forward,
you may not talk or communicate about this case or your potential jury service with anyone else,
including your own family .... The need to have a fair trial also means that from this point onward,
you must not read anything whatsoever about this case. Do not go home and search the internet or
consult newspapers or magazines any other news or social media source to find out what it’s all
about or who these people are. And, you should try to avoid receiving any information about the
case from the news media — if it comes to your attention inadvertently, please click on something
else and please ignore the headline... .” Sept. 12 Tr. at 7-10.

3 The numbers cited to the questionnaire response refer to the number of each question, not
page numbers.
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With respect to questions related to news and social medial] identified newspapers and
TV/cable a “primary sources for local and national news and information,” identifying the
Wall Street Journal in particular. JQ 21 (eo responded that Bi does not listen to political
commentators on television or talk radio, JQ 22; nor had Bi written or posted anything for public
consumption about the defendant, the House Permanent Select Committee on Intelligence
investigation into Russian interference in the 2016 presidential election, or the investigation
conducted by Special Counsel Robert Mueller.” JQ 23.

When asked, “how closely have you followed media reports relating to investigations into
Russian interference in the 2016 election,” the juror checked the “somewhat closely” response.
JQ 25.

Question 26 asked:

To assure that the decision of jury in this case is not based upon influences
outside the courtroom, the Court has instructed you that you must avoid
reading about the case in the newspapers or listening to any radio or
television reports concerning this case including news coverage or
communications on the internet or social media. And, you may not
discuss or communicate about this case with your family, friends or co-
workers or anyone else including on the internet or social media. Also,
until you retire to deliberate, you may not communicate about this case
with your fellow jurors. If you are selected as a juror and this instruction
continues until the end of the trial, you be able to follow these
instructions?

Juror I answered yes. JQ 26.

There were a number of questions related to the jurors’ knowledge of trial participants or
the case. When asked, “[h]ave you read or heard anything about the defendant Roger Stone, about
any staternents made by or attributed to Mr. Stone, or about this case,” Juror |] responded:
“T heard on the news about his arrest early in the morning in his residence this year.” JQ 27.

Neither the juror nor anyone close toll had “any connections” to the Court, the attorneys, or the
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defendant; nor did personally know any of the thirty-one individuals included in a list of
“people who may be witnesses in the case or may be discussed during the trial.” JQ 28-29. The
list included, among others, Julian Assange, Steve Bannon, Hillary Clinton, Paul Manafort,
Rebekah Mercer, John Podesta, and Donald Trump. JQ 29. When asked, “[p]lease indicate if you
already have an opinion about any of these individuals, or if the fact that they may be involved in
the case would make it difficult for you to be fair and impartial to both sides,” Juror Ij wrote,
“[i]t would not be difficult for me to be fair and impartial.” JQ 30. The juror did not work or
volunteer for any 2016 presidential campaign, JQ 32, and neither Be nor a close friend or family
member participated in, or had any connection to a group that participated in, “any investigation
or inquiry into the circumstances surrounding Russian interference in the 2016 presidential
election.” JQ 33.

The juror had not been a victim of, accused of, or a witness to a crime, or a witness in any
court proceeding. JQ 36-41. dia report that [nad been the subject of a law enforcement
investigation or administrative proceeding: the joint tax returns Blifiled with as for
BG were audited by the IRS. JQ 42-13. When asked if | LE ever been involved in any
legal proceeding in any capacity, Bb replied | “was a trial attorney in 1-2 cases in the Tax
Court... more than 10 years ago.” JQ 45-46.

Juror answered “no” to all of the following questions:

Do you have any opinions or beliefs concerning law enforcement
organizations in general, including the Federal Bureau of Investigation
(FBI) or the Department of Justice, or the Special Counsel’s Office within
the Department of Justice, that would affect your ability to evaluate the
evidence fairly and impartially?

In this case, the United States is represented by the U.S. Attorney’s Office
for the District of Columbia. The investigation that led to the charges in
this case was conducted by Special Counsel Robert S. Mueller, III. The

USS. Attorney’s Office is, and the Special Counsel’s Office was, a part of the
U.S. Department of Justice. Is there anything about the fact that the Special

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Counsel’s Office, the U.S. Attorney’s Office, or the Justice Department is
or was involved in this case that affect your ability to be fair and impartial in
this case and base your decision solely on the evidence presented and the
Court’s instructions on the law?

The judge will instruct you that the charges in this case include: obstruction
of an official proceeding, making false statements, and witness tampering.
Is there anything about the nature of the charges alone that would affect
your ability to be fair?

Jurors are the sole judges of the facts. However, the jury must follow the
principles of law as instructed by the judge. The jury may not follow some
rules of law and ignore others. Even if the jury disagrees or dislikes the
rules of law or does not understand the reasons for some of the rules, it is
their duty to follow them. Do you have any personal beliefs that would

make it difficult to follow the Court’s legal instructions, whatever they may
be?

Do you have any personal reason that makes you want to serve as a juror in
this case, or do you have any personal interest in the outcome of the case?

Is there anything about this case, the issues, or the people involved in this
case, or any other reason that has not be been asked about in any other
question, that leads you to believe that you could not be completely fair to
both the defendant, Roger Stone, and the U.S. Government in this case?

JQ 15, 16, 48, 49, 51, 56.

Significantly, Juror [=] wrote if sworn questionnaire tha ij had not “formed or
expressed any opinion about Mr. Stone, the charges in this case, or about his guilt or innocence in
this case.” JQ 34.

In accordance with the Scheduling Order, on September 17, 2019, the parties each
submitted a list of the jurors they were moving to strike for cause based on the responses to the
questionnaires. Gov’t “For Cause” Juror Strikes [Dkt. #208] (SEALED); Def.’s “For Cause”
Juror Strikes [Dkt. # 209] (SEALED) (“Def.’s Strike List”). Defendant identified fifty-four jurors,

but he did not move to strike Juror I. See Def.’s Strike List.
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On September 18, 2019, upon consideration of the parties’ motions and its own review of
the responses, the Court struck thirty-eight of the potential jurors for cause, all thirty-eight of whom
were identified by the defendant. Compare Order [Dkt. # 211] (SEALED) (“Sept. 18 Order”) with
Def.’s Strike List.* Since neither party had asked that Juror be removed, and the Court saw
nothing in the juror questionnaire that warranted removal, Bi was not included in the order.
See Sept. 18 Order.

On November 4, 2019, the defense filed a memorandum asking the Court to reconsider its
rulings with respect to nine of the jurors who were permitted to remain in the jury pool, and it
renewed its request that those jurors be removed for cause. Def.’s Mem. on Jury Selection [Dkt.
#249] (SEALED). The Court granted the motion with respect to two more jurors. See Tr. of Jury
Trial, Nov. 5, 2019 (“Nov. 5 Tr.”) at 23-24.° The defendant did not mention Juror or move
to strike Bits time either. See Def.’s Mem. on Jury Selection; Nov. 5 Tr.

On November 5, 2019, the remaining jurors returned to the courthouse for voir dire, and
the Court and the lawyers questioned them individually, including Juror a. outside of the
presence of the rest of the panel. See generally Nov. 5 Tr. The Court began the questioning for
each juror, and it made sure to inquire whether the juror had been exposed to any publicity during
the period of time between the completion of the questionnaire and the trial date.

With respect to J uror i. the Court first inquired about fijemployment and its potential
effect oni role as a juror:

THE COURT: I note that you work for the federal government in the IRS;
is that correct?

 

4 Of the sixteen jurors the Court did not strike, none ended up serving as either jurors or
alternates.

5 None of the other jurors identified in defendant’s memorandum served as jurors for the
trial.
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PROSPECTIVE JUROR: That’s correct.

THE COURT: And you’ve done that through multiple administrations, it
seems?

THE PROSPECTIVE JUROR: Yes. I -I basically have worked for the
IRS for more than

THE COURT: And does the fact that you work for the government lead
you to favor the government, as opposed to the defendant in this case?

THE PROSPECTIVE JUROR: No. I think that as a, basically, federal
employee, we are trained to be pretty objective and fair.

Nov. 5 Tr. at 42. The Court next inquired whether had “heard or read anything about this case

or about this defendant, either before BM filled out the questionnaire or after.” Jd. The juror

answered:

THE PROSPECTIVE JUROR: Not much. Just about the arrest that was

in the papers. Today, in the paper, there was — in Wall Street Journal
there was a small article. ‘: as showed me.

THE COURT: Okay. So you understand that if somebody tries to show
you an article and you’re on this jury, you need to say, I’m not reading
any more articles from this day forward?

THE PROSPECTIVE JUROR: Yes.

THE COURT: Now, does the fact that he was arrested or that you heard
about his arrest on television, does that give you an opinion as to whether
or not he might be guilty of the charges in this case?

THE PROSPECTIVE JUROR: No.

THE COURT: So you understand that he’s presumed to be innocent, even
though he’s been arrested and even though he’s been charged?

THE PROSPECTIVE JUROR: Yes.

Nov. 5 Tr. at 42-43.

The government then had the opportunity to question Juror a. and it asked two

questions:
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[GOVERNMENT COUNSEL]: You mentioned in your questionnaire,
and a moment ago in court, that you had read or heard something in the
news about the defendant’s arrest. Do you remember what you read or
heard about the arrest or where you read or heard it?

THE PROSPECTIVE JUROR: I don’t remember where or whether it was
in the papers or the news. But, that was several months ago.

[GOVERNMENT COUNSEL]: And do you remember anything about
what you may have read or heard?

THE PROSPECTIVE JUROR: That, basically, there was, like, an early
raid and arrest.

[GOVERNMENT COUNSEL]: Thank you very much.
Nov. 5 Tr. at 43-44.

Counsel for the defendant was then afforded an opportunity to ask the juror questions. The
Court did not interrupt or cut off the questioning, and the entire colloquoy is set forth below:
[DEFENSE COUNSEL]: Good morning. You’re a lawyer at the IRS?
THE PROSPECTIVE JUROR: Yes.
[DEFENSE COUNSEL]: Do you supervise any other lawyers?
THE PROSPECTIVE JUROR: I review their work.

[DEFENSE COUNSEL]: And do these lawyers that you supervise, do
they participate in criminal prosecutions?

THE PROSPECTIVE JUROR: No.

[DEFENSE COUNSEL]: Can you just tell us what your job function is
at the IRS?

THE PROSPECTIVE JUROR: It’s civil tax administration work. I am

in 0 fice. So, it’s large and international business
companies, mainly.

[DEFENSE COUNSEL]: Do you ever have the job of referring any cases
to the Department of Justice?

THE PROSPECTIVE JUROR: No.

[DEFENSE COUNSEL]: Any of the attorneys that you oversee?
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THE PROSPECTIVE JUROR: No. It’s not the process, how it’s done.
[DEFENSE COUNSEL]: Very good. Thank you, Judge.
Nov. 5 Tr. at 44. The defendant then moved to strike J uror for cause “for the grounds stated
— as referenced in the memo,’”® and because did not adhere to the Court’s September 12
instruction not to review information about the case. Nov. 5 Tr. at 45.

The Court denied the motion:
[I]t sounds like os] didn’t follow [the Court’s instruction].
I don’t believe that the information we’ve received from this morning
or anything ir form Jj questionnaire, supports striking for cause. So
I’m going to deny the motion.
Nov. 5 Tr, at 45. Juror Ij was seated on the jury, which found ultimately defendant guilty on
all counts.
ANALYSIS
Defendant seeks a new trial pursuant to Federal Rule of Criminal Procedure 33. Mot. at 1.
Rule 33 provides that “[u]pon the defendant’s motion, the court may vacate any judgment and
grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “Trial courts enjoy
broad discretion in ruling on a motion for a new trial.” United States v. Wheeler, 753 F.3d 200,

208 (D.C. Cir. 2014). While the rules do “not define ‘interests of justice,’” the D.C. Circuit has

instructed that “granting a new trial motion is warranted only in those limited circumstances where

 

6 It is unclear what counsel meant by “for the grounds stated . . . in the memo,” since the
defense did not move to strike Juror [for any grounds in its memorandum. The pleading did
assert that a juror who “worked for a governmental prosecutorial or law enforcement agency”
would have the sort of implied bias that could warrant the exercise of discretion to excuse the juror
for cause, even if there was no mandatory presumption of bias, Def.’s Mem. on Jury Selection at
2-3, but it did not include Juror in that category. Jd. at 3 (“Based upon written answers to
the questionnaire, there is more than one prospective juror who works or has worked for the
government in a prosecutorial law enforcement capacity either through the Department of Justice
or the Securities and Exchange Commission. The Court should excuse those jurors for cause.”).

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‘a serious miscarriage of justice may have occurred.’” Jd., quoting United States v. Rogers,
918 F.2d 207, 213 (D.C. Cir. 1990),

Defendant argues that a new trial is warranted because the Court failed grant the motion to
strike Juror for cause that was made after the individual voir dire. Mot. at 1. He maintains
that the juror should have been removed for bias because | employed in a division of the
Internal Revenue Service “that works hand-in-hand with the Department of Justice prosecuting
criminal tax matters,” and becausdill “violated the Court’s order to avoid media coverage of the
case.” Id.

The defense acknowledges that bias is implied only in “extreme situations where the
relationship between a prospective juror and some aspect of the litigation is such that it is highly
unlikely that the average person could remain impartial in his deliberations under the
circumstances,” noting that examples of such “extreme situations” include when a “juror is an
actual employee of the prosecuting agency.” Mot. at 3 (underlining in Mot.), quoting United States
v. Sampson, 820 F. Supp. 2d 151, 164 (D. Mass. 2011). It argues that this implied bias extends to
Juror I because job “is too connected to the prosecutorial and law enforcement function.”
Mot. at 4.

There was nothing in the juror’s questionnaire of in-court testimony to support
defendant’s assertion that fj works on criminal matters or interacts with the Department of Justice
at all, much less that BI works “hand-in-hand” with Justice Department lawyers prosecuting

criminal tax cases. Defendant predicates his motion on an excerpt from a description of the Office

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of Pee found on the agency’s website,’ but the webpage details the broad scope of the

work of the office as a whole:

The jl of the IRS supervises approximately 1,400 attorneys

who are assigned among the IRS National Office and the major operational

divisions of the agency. The principal client of the Office ey
is the Commissioner of the Internal Revenue Service.

The i Office plays a central role in the administration of the

Federal tax laws. Its attorneys provide guidance on the correct legal
interpretation of the tax laws, represent the IRS in litigation, and provide all

other legal support the IRS needs to carry out its mission of serving
American taxpayers. For example, the PEGUDns Office drafts
regulations, rulings, and other published legal guidance; handles tens of
thousands of cases per year in the U.S. Tax Court and bankruptcy courts
and works closely with the Department of Justice on other tax litigation in
other Federal courts; and provides specific legal advice and determinations
to taxpayers and to various IRS offices both before and after taxes are filed.
U.S. Dept. of Treasury, About, a eee. https://www.treasury.gov/about/organizational-
snc
The fact that the juror was just one of these approximately 1,400 lawyers does not begin to
establish the sort of inherent bias that should have prompted the Court to strike Bin its
discretion.® See Smith v. Phillips, 455 U.S. 209, 215 (1982) (“A holding of implied bias to
disqualify jurors because of their relationship with the Government is no longer permissible.”),
quoting Dennis v. United States, 339 U.S. 162, 167 (1950); see also Baker v. United States,
401 F.2d 958, 968-69 (D.C. Cir. 1968) (rejecting argument that an “all Government employee

jury” on its own is prejudicial), Rather, concerns about implied bias should be addressed by giving

 

7 See Mot. at 4 (‘The i at the Internal Revenue Service ‘works closely
with the Department of Justice on other tax litigation in other federal courts ....’”), quoting Ex. 1,
https://www.treasury.gov/about/organizational-structure/offices

8 Indeed, this very thorough description does not even include the word “criminal” or
“prosecution.”

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the parties “the opportunity to prove actual bias,” Smith, 455 U.S. at 215; United States v.
Littlejohn, 489 F.3d 1335, 1342 (D.C. Cir. 2007), and counsel had ample opportunity here.

The Court notes that the defense did not include Juror ro] in its September 17 list of
jurors to strike for cause, or in its November 4 renewed request for strikes, even though the juror
had revealed Pl precise place of employment in questionnaire. See Def.’s Strike List; Def.’s
Mem. on Jury Selection; JQ. The defense could have easily conducted the same internet research
included in the instant motion and could have raised concerns at that time. But the defendant was
not prejudiced by his failure to do so; the defense was provided with a full opportunity during the
individual voir dire “to expose bias or prejudice on the part of the veniremen.” Littlejohn, 489 F.3d
at 1342. And, it was counsel, and not the Court, who brought his questioning of Juror [ij to an
end.

The record reflects that neither Juror [| nor any attorney supervises works with the
Department of Justice on criminal prosecutions or law enforcement matters. Nov. 5 Tr. at 44.
Their work involves civil tax administration, mainly for large and international businesses, and
they do not even refer matters to the Department. /d. Given this uncontested sworn testimony,
this situation is not analogous to cases in which a juror is an actual employee of a prosecuting
agency or has a job that can be likened to a prosecutor’s.

Moreover, Juror was specifically asked whether work for the government would
affec (fil ability to be impartial in deciding the case. Nov. 5 Tr. at 42. BM stated that it would
not. Jd. Such statements by jurors are “vot inherently suspect, for a juror is well qualified to say
whether he has an unbiased mind in a certain matter.” United States v. Butler, 822 F.2d 1191,
1196-97 (D.C. Cir. 1987) (emphasis in original) (internal quotation marks omitted); Smith,

455 U.S. at 217 n.7 (noting that determinations about juror impartiality frequently turn on the

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testimony of the juror in question). The Court had the opportunity to observe the juror’s demeanor
during voir dire, and it found then and finds now that defendant has failed to show actual or
inherent bias.

Defendant’s second contention, that J uror did not follow the Court’s instructions not
to read about the case, is also not sufficient to warrant a new trial. The juror’s testimony during
voir dire that “showed” [ja small article did not establish that Wh ecad it said
only that BB pointed it out coll on the morning] was headed to court. See Nov. 5 Tr. at 42.
The defense did not follow up, so there is no additional evidence on this point. But even if one
were to draw an inference that the juror looked at the content of wha presented, those
circumstances did not require a strike for cause. There was no evidence that the juror took any
steps on Blown initiative to defy the Court’s instructions, and limited exposure to a single
-piece in the newspaper was of minimal significance. When the Court followed up about the matter,
the juror credibly stated that wha had heard about the case from the media did not give Ben
opinion about Mr. Stone’s guilt or innocence or affect fj ability to remain fair and impartial. Nov.
5 Tr. at 4243 also stated that [could comply with the instruction not to read anything
about the case i were to be seated on the jury. Jd.

The Supreme Court’s opinion in Murphy v. Florida, 421 U.S. 794 (1975), makes it clear
that “[qlualified jurors need not... be totally ignorant of the facts and issues involved... . It is
sufficient if the juror can lay aside his impression or opinion and render a verdict based on the
evidence presented in court.” 421 U.S. at 799-801 (ruling that the petitioner had failed to show
that the jury-selection process permitted an inference of actual prejudice even though some jurors
had a vague recollection of the crime with which petitioner was charged and each had some

knowledge of petitioner’s past crimes) (internal quotation marks omitted); see also Skilling v.

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United States, 561 U.S. 358, 385-86 (2010) (the judge’s appraisal of the risk of prejudice “is
ordinarily influenced by a host of factors impossible to capture fully in the record — among them,
the prospective juror’s inflection, sincerity, demeanor, candor, body language, and apprehension
of duty”), Defendant finds those cases to be inapposite since they did not involve a failure to
comply with a pre-trial directive issued by the Court, but the general principles still apply, and the
Court is persuaded that the transgression in this case — if one indeed occurred — was unintentional,
and that it had little, if any, effect.

Given the content of the questionnaire in its entirety, and the juror’s testimony and
demeanor during voir dire, the Court finds in its discretion that it was not necessary to strike the
juror for alleged bias or for failure to follow the Court’s instructions. The defense has not presented
grounds for a new trial under Rule 33 or any reason to believe there has been “a serious miscarriage
of justice,” Wheeler, 753 F.3d at 208, quoting Rogers, 918 F.2d at 213, and therefore, the motion
[Dkt. # 266] is hereby DENIED.

It is ORDERED that the parties shall meet and confer and submit to the Court by
February 10, 2020, proposed redacted versions of defendant’s sealed Motion for New Trial, the

government’s sealed Response to Defendant’s Motion for New Trial, and this sealed Order and its

Ary B Sch —
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AMY BERMAN JACKSON
United States District Judge

attachment to be filed on the public docket.

DATE: February 5, 2020

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